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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Strike 3 Holdings, LLC

1:22-cv-11261-DJC

Plaintiff
-VS-

John Doe subscriber assigned IP address

Defendant

 

MOTION TO QUASH SUBPOENA AND BRIEF EXPLANATION

The Defendant submits the brief explanation in support of the motion to quash the
subpoena duces tecum served in the case 1:22-cv-11261-DJC

1. The Complaint does not provide appropriate copyright registration forms

or even list the copyrighted materials-as opposed to merely the "site" that the
Defendant allegedly infringed on.

2. Exhibit A mentioned and attached to the Complaint does not provide such
registration numbers, nor does Plaintiff's Copyright Form

3. By failing to identify which copyrighted materials Plaintiff owns, and
which materials Defendant infringed on, the Complaint fails to contain sufficient
factual matter to "state a claim to relief that is plausible on its face"

In conclusion, for the foregoing reasons the subpoena should be quashed and a
protective order should issue.

submitted

Respectfu

   

Defendant lO i 4 /2 02.2

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